Upon this appeal it was stipulated that if the decree in the matter of the above-entitled estate fixing the inheritance tax due and payable to the state should be affirmed, then the amount of the award of the inheritance tax should bear interest at the "rate of seven per cent per annum from and after the thirteenth day of March, 1916." The decree thus referred to was ordered modified, and as modified, affirmed. (Estate of Felton,176 Cal. 663, [169 P. 392].) *Page 13 
It is therefore ordered that the modified decree which will be entered by the court in probate in the matter of said estate shall contain as a part thereof an award of interest upon the amount of such decree at the rate of seven per cent per annum from and after the thirteenth day of March, 1916.